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47/49                                           BODY                                            47/49
47MUD                                                                 Optional
STRIPING, PERIMETER, RIGHT Side Emergency
                                                              47BJP
Door; Reflective, White
                                                              HANDLE, EXTERIOR, REAR Emergency Door;
47NXM                                                         Paint to Match Body Exterior
STRIPING, PERIMETER, RIGHT {3M} Side
                                                              47DCA
Emergency Door; 1” Yellow Fluroescent Diamond
                                                              HANDLE, EXTERIOR, REAR Emergency Door;
Grade
                                                              Chrome

                                                              47NLR
                                                              HANDLE, EXTERIOR, REAR Emergency Door;
                                                              Black

                                                              47NLS
       Standard                                               HANDLE, EXTERIOR, REAR Emergency Door;
                                                              White
The emergency door (which is included in the
Body, Rear feature code) is located in the center
rear and can be opened from the inside or outside.
The door is equipped with a hold-back device
which allows the door to be opened and held
securely in the 90 position. The door is designed
                                                                      Optional
to be quickly released but is also engineered to              47DCM
protect against accidental release.                           HANDLE ACCESS FOR RECESSED DR
The glass in the rear door windows will match                 Emergency Door; Exterior Rear
passenger window tint unless optional clear glass
is ordered.
Concealed interior hinges are fastened on the                         Standard
right side.
                                                              47DAJ
The outside handle is webb-type, non-detachable               COVER, REAR DOOR INSIDE HANDLE Partial
and hitch-proof. The rear door perimeter is                   Coverage
outlined with reflective decal material to allow for
greater visibility and meets FMVSS requirements.                      Optional
A padded header bumper is mounted over the rear               47DAH
door and upholstered to match seat color.                     COVER, REAR DOOR INSIDE HANDLE Full
                                                              Coverage

       Standard                                               OMIT
                                                              47DAM
SCHOOL BUS                                                    COVER, REAR DOOR INSIDE HANDLE Omit
47DEY
HANDLE, EXTERIOR, REAR Emergency Door;
Yellow
                                                                      Standard
COMMERCIAL BUS                                                The door latch is a 1-point slide bar, cam-operated
47NLS                                                         with a 1" stroke. A red steel interior handle
HANDLE, EXTERIOR, REAR Emergency Door;                        extends to the center of the door and lifts up to
White                                                         open. The doors also include a hold-back device.


                                                                                   Exhibit D
                                             (Part of CT-400) – August, 2010
                                                                                                  NAV000082
